                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN

Kathryn Knowlton, et al.,
                                                 Plaintiffs,           Case No. 20-CV-1660
                       v.
                                                                       MINUTE SHEET
City of Wauwatosa, et al.,
                                                 Defendants.



Hon. Nancy Joseph, presiding.                          Deputy Clerk: Ross Miller
Type of Proceeding: STATUS CONFERENCE
Date: October 15, 2021 at 1:30pm                       Court Reporter: Zoom Audio
Time Commenced: 1:40pm                                 Time Concluded: 3:11pm

Appearances:            Plaintiffs:     Kimberley Motley, Milo Schwab, Kathryn Knowlton
                        Defendants:     Kiley Zellner, Kyle Moore

Comments:

Parties discussed discovery issues.

Court makes the following ORDERS:

Motion for Sanctions (ECF #48) is GRANTED.             Court will allow an additional ONE HOUR of
Deposition of Causier. Court will not assess costs.

Parties will each have a maximum of 30 depositions. Parties will each have a maximum of 50 admissions.
Parties will each have a maximum of 25 interrogatories.

Court Reporter Miriam Beckford will not be utilized for future depositions.

Defendants will now have 30 days to answer the amended complaint.

Plaintiffs to create a document with a list of requests that are missing and transmit that document to
Defendants by Monday, October 18, 2021. Defendants will then list dates for responses to requests or
information regarding previous transmission of said discovery if they have already provided the requested
discovery.

Court will conduct a Status Conference on October 27, 2021 at 9:00am via Zoom.




                 Case 2:20-cv-01660-NJ Filed 10/15/21 Page 1 of 1 Document 96
